             Case
             Case2:21-cv-00202-AJS
                  2:05-mc-02025 Document
                                   Document
                                         1831 Filed
                                               Filed02/11/21
                                                     02/11/21 Page
                                                               Page11ofof18
                                                                          18




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ROBERT JAHODA and THOMAS KLAUS,

                         Plaintiffs,                       Civil Action No.       21-202

         v.                                                COMPLAINT FOR DECLARATORY
                                                           AND INJUNCTIVE RELIEF
 CEREBRAL, INC.,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Robert Jahoda and Thomas Klaus, by and through undersigned counsel, seek a permanent

injunction requiring a change in Cerebral, Inc.’s (“Defendant”) corporate policies to cause its

online store to become, and remain, accessible to individuals with visual disabilities. In support

thereof, Plaintiffs respectfully assert as follows:

                                         INTRODUCTION

        1.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA applies
        to public accommodations’ websites over 20 years ago. This interpretation is
        consistent with the ADA’s title III requirement that the goods, services, privileges,
        or activities provided by places of public accommodation be equally accessible to
        people with disabilities.

See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to

Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
              Case
              Case2:21-cv-00202-AJS
                   2:05-mc-02025 Document
                                    Document
                                          1831 Filed
                                                Filed02/11/21
                                                      02/11/21 Page
                                                                Page22ofof18
                                                                           18




https://www.adatitleiii.com/wp-content/uploads/sites/121/2018/10/DOJ-letter-to-congress.pdf)

(last accessed February 11, 2021).

         2.       Robert Jahoda suffers retinitis pigmentosa, a genetic disorder that rendered him

legally blind when he was just two years old. Today, he uses screen reader technology, including

VoiceOver and JAWS, to navigate the Internet.

         3.       Thomas Klaus suffers from Leber hereditary optic neuropathy, or LHON, a genetic

disorder that rendered him totally blind more than twenty years ago. He uses a screen reader to

navigate the Internet.

         4.       Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017) (J. Weinstein).

         The screen reading software uses auditory cues to allow a visually impaired user to
         effectively use websites. For example, when using the visual internet, a seeing user
         learns that a link may be “clicked,” which will bring her to another webpage,
         through visual cues, such as a change in the color of the text (often text is turned
         from black to blue). When the sighted user's cursor hovers over the link, it changes
         from an arrow symbol to a hand.

         The screen reading software uses auditory—rather than visual—cues to relay this
         same information. When a sight impaired individual reaches a link that may be
         “clicked on,” the software reads the link to the user, and after reading the text of
         the link says the word “clickable.”…Through a series of auditory cues read aloud
         by the screen reader, the visually impaired user can navigate a website by listening
         and responding with her keyboard.

Id.; See also American Federation for the Blind, Screen Readers, available at

https://www.afb.org/blindness-and-low-vision/using-technology/assistive-technology-

products/screen-readers (last accessed February 11, 2021) (discussing screen readers and how they

work).

         5.       Defendant is an online retailer that provides mental health services.

                                                   2
            Case
            Case2:21-cv-00202-AJS
                 2:05-mc-02025 Document
                                  Document
                                        1831 Filed
                                              Filed02/11/21
                                                    02/11/21 Page
                                                              Page33ofof18
                                                                         18




       6.       Consumers may research and purchase Defendant’s products and services and

access other brand-related content and services at https://getcerebral.com/ (“Website”), a website

Defendant owns, operates, and controls.

       7.       Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

       8.       Unfortunately, Defendant denies approximately 8.1 million Americans who have

difficulty seeing access to its online store because the Website is largely incompatible with the

screen reader programs these Americans use to navigate an increasingly ecommerce world. See

Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in the U.S.,

Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA (Jul. 25,

2012), available at https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-

134.html (last accessed February 11, 2021) (“About 8.1 million people had difficulty seeing,

including 2.0 million who were blind or unable to see.”).

       9.       Plaintiffs bring this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of its

services, facilities, privileges and advantages; (2) provide such persons with benefits that are equal

to those provided to nondisabled persons; (3) provide auxiliary aids and services—including

electronic services for use with a computer screen reading program—where necessary to ensure

effective communication with individuals with a visual disability, and to ensure that such persons

are not excluded, denied services, segregated or otherwise treated differently than sighted

individuals; and (4) utilize administrative methods, practices, and policies that provide persons

with disabilities equal access to online content.



                                                    3
           Case
           Case2:21-cv-00202-AJS
                2:05-mc-02025 Document
                                 Document
                                       1831 Filed
                                             Filed02/11/21
                                                   02/11/21 Page
                                                             Page44ofof18
                                                                        18




       10.     By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives

individuals who are partially sighted, visually impaired, or totally blind the benefits of its online

goods, content, and services—all benefits it affords nondisabled individuals—thereby increasing

the sense of isolation and stigma among these Americans that Title III was meant to redress.

       11.     Because Defendant’s Website is not and has never been accessible, and because

upon information and belief Defendant does not have, and has never had, an adequate corporate

policy that is reasonably calculated to cause its Website to become and remain accessible, Plaintiffs

invoke 42 U.S.C. § 12188(a)(2) and seek a permanent injunction requiring that:

                                                                              Defendant’s Deadline
 Compl. ¶                         Relief Requested                             to notify Plaintiffs’
                                                                              counsel of completion

             Defendant retain a qualified consultant acceptable to
             Plaintiffs (“Approved Accessibility Consultant”) who
             shall assist it in improving the accessibility of its Website,
                                                                               30-days of Court’s
   11(a)     including all third party content and plug-ins, so the
                                                                                     Order
             goods and services on the Website may be equally
             accessed and enjoyed by individuals with vision related
             disabilities.

             Defendant work with the Approved Accessibility
                                                                        180-days of Court’s
             Consultant to ensure that all employees involved in
                                                                       Order and every 180-
   11(b)     website development be given accessibility training on a
                                                                      days thereafter until the
             biennial basis, including onsite training to create
                                                                      Court orders otherwise
             accessible content at the design and development stages.

             Defendant work with the Approved Accessibility
             Consultant to perform an automated accessibility audit on   90-days of Court’s
             at least a quarterly basis to evaluate whether Defendant’s  Order and every 90-
   11(c)
             Website may be equally accessed and enjoyed by days thereafter until the
             individuals with vision related disabilities on an ongoing Court orders otherwise
             basis.




                                                  4
        Case
        Case2:21-cv-00202-AJS
             2:05-mc-02025 Document
                              Document
                                    1831 Filed
                                          Filed02/11/21
                                                02/11/21 Page
                                                          Page55ofof18
                                                                     18




          Defendant work with the Approved Accessibility
          Consultant to perform end-user accessibility/usability
          testing on at least a quarterly basis with said testing to be
                                                                         90-days of the Court’s
          performed by humans who are blind or have low vision,
                                                                          Order and every 90-
11(d)     or who have training and experience in the manner in
                                                                        days thereafter until the
          which persons who are blind use a screen reader to
                                                                        Court orders otherwise
          navigate, browse, and conduct business on websites, in
          addition to the testing, if applicable, that is performed
          using semi-automated tools.

                                                                          60-days of receiving
          Defendant incorporate all of the Approved Accessibility
                                                                         recommendations until
11(e)     Consultant’s recommendations within sixty (60) days of
                                                                            the Court orders
          receiving the recommendations.
                                                                               otherwise

          Defendant work with the Approved Accessibility
          Consultant to create an Accessibility Policy that will be
                                                                         60-days of the Court’s
11(f)     posted on its Website, along with an e-mail address,
                                                                                 Order
          instant messenger, and toll free phone number to report
          accessibility-related problems.

          Defendant directly link from the header on each page of
          the Website a statement that indicates that Defendant is
          making efforts to maintain and increase the accessibility
                                                                         60-days of the Court’s
11(g)     of its Website to ensure that persons with disabilities have
                                                                                 Order
          full and equal enjoyment of the goods, services, facilities,
          privileges, advantages, and accommodations of the
          Defendant through the Website.

          Defendant accompany the public policy statement with
          an accessible means of submitting accessibility questions
                                                                         60-days of the Court’s
11(h)     and problems, including an accessible form to submit
                                                                                 Order
          feedback or an email address to contact representatives
          knowledgeable about the Accessibility Policy.

          Defendant provide a notice, prominently and directly
          linked from the header on each page of the Website,
          soliciting feedback from visitors to the Website on how
          the accessibility of the Website can be improved. The link     60-days of the Court’s
11(i)
          shall provide a method to provide feedback, including an               Order
          accessible form to submit feedback or an email address
          to contact representatives knowledgeable about the
          Accessibility Policy.




                                              5
           Case
           Case2:21-cv-00202-AJS
                2:05-mc-02025 Document
                                 Document
                                       1831 Filed
                                             Filed02/11/21
                                                   02/11/21 Page
                                                             Page66ofof18
                                                                        18




             Defendant provide a copy of the Accessibility Policy to
             all web content personnel, contractors responsible for         60-days of the Court’s
   11(j)
             web content, and Client Service Operations call center                 Order
             agents (“CSO Personnel”) for the Website.

             Defendant train no fewer than three of its CSO Personnel
             to automatically escalate calls from users with disabilities
             who encounter difficulties using the Website. Defendant
             shall have trained no fewer than three of its CSO
             personnel to timely assist such users with disabilities
                                                                             180-days of Court’s
   11(k)     within CSO published hours of operation. Defendant
                                                                                   Order
             shall establish procedures for promptly directing requests
             for assistance to such personnel including notifying the
             public that customer assistance is available to users with
             disabilities and describing the process to obtain that
             assistance.

             Defendant modify existing bug fix policies, practices,
             and procedures to include the elimination of bugs that          180-days of Court’s
   11(l)
             cause the Website to be inaccessible to users of screen               Order
             reader technology

             Plaintiffs, their counsel, and its experts monitor the
             Website for up to two (2) years after the Approved
             Accessibility Consultant validates the Website is free of
             accessibility errors/violations to ensure Defendant has
             adopted and implemented adequate accessibility policies.
                                                                            Until the Court orders
   11(m)     To this end, Plaintiffs, through their counsel and its
                                                                                   otherwise
             experts, shall be entitled to consult with the Approved
             Accessibility Consultant at their discretion, and to review
             any written material, including but not limited to any
             recommendations the Approved Accessibility Consultant
             provides Defendant.

       12.     Web-based technologies have features and content that are modified on a daily, and

in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause

the website to remain accessible without a corresponding change in corporate policies related to

those web-based technologies. Jonathan Lazur et al., Ensuring Digital Accessibility Through

Process and Policy 140 (2015). As one leading commentator notes,

       The most significant problem is maintaining the accessibility of a large commercial
       site. Without policies, procedures and metrics—such as testing a release for

                                                 6
            Case
            Case2:21-cv-00202-AJS
                 2:05-mc-02025 Document
                                  Document
                                        1831 Filed
                                              Filed02/11/21
                                                    02/11/21 Page
                                                              Page77ofof18
                                                                         18




        accessibility before posting to the website and training in accessible design (so that
        accessibility is part of the design process the way, say, cybersecurity is)—the site’s
        status as accessible will be temporary at best.

Fighting for Accessible Website under the ADA: Daniel Goldstein, Brown Goldstein Levy,

Baltimore, Bloomberg BNA, Jan. 13, 2016, ISSN 1098-5190 (reproduced with permission from

Electronic Commerce & Law Report, 21 ECLR, 2, 1/13/16).

        13.     To evaluate whether an inaccessible website has been rendered accessible, and

whether corporate policies related to web-based technologies have been changed in a meaningful

manner that will cause the website to remain accessible, the website must be reviewed on a periodic

basis using both automated accessibility screening tools and end user testing by disabled

individuals.

        [I]f you have planned to redesign or add a certain segment to your site, then make
        it accessible from the start. It’s far cheaper to plan for an elevator than to decide to
        add one once your 30-story building is complete. Or if you are re-branding, consider
        using templates that will ensure accessibility. Make sure you have policies,
        procedures and metrics in place so that you know if you are maintaining
        accessibility and can identify why, if you are not. Most of all, consult disabled
        consumers or a consumer organization before deciding what you are going to do,
        and have consumers actually test the changes.

        Something you imagine you may need to do, you may not need to do at all or may
        be able to do much cheaper. Something you hadn’t thought to do may be critical to
        accessibility. And, of course, if you work with the disability community, they will
        spread the word that this is no longer a site to be avoided, but to be used.

Id. at 3.

                                  JURISDICTION AND VENUE

        14.     The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

        15.     Defendant participates in the Commonwealth’s economic life by clearly

performing business over the Internet. Through its Website, Defendant enters into contracts for the
                                                   7
            Case
            Case2:21-cv-00202-AJS
                 2:05-mc-02025 Document
                                  Document
                                        1831 Filed
                                              Filed02/11/21
                                                    02/11/21 Page
                                                              Page88ofof18
                                                                         18




sale of its products with residents of Pennsylvania. These online sales contracts involve, and indeed

require, Defendant’s knowing and repeated transmission of computer files over the Internet. See

Gniewkowski v. Lettuce Entertain You, Order, ECF No. 123 (W.D. Pa Apr. 25, 2017) clarified by

Order of Court, ECF No. 169 (W.D. Pa. June 22, 2017) (Judge Schwab) (exercising personal

jurisdiction over forum plaintiff’s website accessibility claims against out-of-forum website

operator); see also Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287 (D. Mass. Dec. 4,

2017) (same); Access Now, Inc. v. Sportswear, Inc., 298 F.Supp.3d 296 (D. Mass. 2018) (same).

        16.     As described in additional detail below, Plaintiff Jahoda was injured when he

attempted to access Defendant’s Website from this District but encountered barriers that denied

his full and equal access to Defendant’s online goods, content, and services.

        17.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiffs’ claims

occurred.

                                              PARTIES

        18.     Plaintiff Jahoda is and, at all times relevant hereto, has been a resident of this

District. Plaintiff Klaus is a resident of Harrisburg, Pennsylvania. Both Plaintiffs are and, at all

times relevant hereto, have been totally blind and are therefore members of a protected class under

the ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR

§§ 36.101 et seq.

        19.     Defendant is a Delaware corporation with its principal place of business at 555

Mission Street, San Francisco, CA 94105.




                                                   8
          Case
          Case2:21-cv-00202-AJS
               2:05-mc-02025 Document
                                Document
                                      1831 Filed
                                            Filed02/11/21
                                                  02/11/21 Page
                                                            Page99ofof18
                                                                       18




                          FACTS APPLICABLE TO ALL CLAIMS

       20.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

                                DEFENDANT’S ONLINE CONTENT

       21.     Defendant’s Website allows shoppers to research and purchase Defendant’s

products from the comfort and convenience of their own homes and arrange for home delivery.

       22.     Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

                                    HARM TO PLAINTIFFS
       23.     Plaintiff Jahoda attempted to access the Website from this District. Unfortunately,

because of Defendant’s failure to build its Website in a manner that is compatible with screen

reader programs, Plaintiff Jahoda is unable to understand, and thus is denied the benefit of, much

of the content and services he wishes to access in Defendant’s online store.

       24.     Plaintiffs attempted to access the Website using their screen reader auxiliary aid.




                                                 9
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page10
                                                                10ofof18
                                                                       18




       25.     “VoiceOver is a gesture-based screen reader that lets

you enjoy using iPhone even if you don’t see the screen. With

VoiceOver enabled, just triple-click the Home button to access it

wherever you are in iOS. Hear a description of everything happening

on your screen, from battery level to who’s calling to which app your

finger is on. You can also adjust the speaking rate and pitch to

suit you…You can control VoiceOver using a simple set of gestures.

Touch or drag your finger around the screen and VoiceOver tells you

what’s there. Tap a button to hear a description, then double-tap to

select. Or flick left and right to move from one element to the next.

When you interact with an element, a black rectangle appears around it so sighted users can follow

along. When you prefer privacy, you can activate a screen curtain to turn off the display

completely, but still hear all that VoiceOver has to say.” See Apple, Accessibility, available at

https://www.apple.com/accessibility/iphone/vision/ (last accessed February 11, 2021).

       26.     Unfortunately, as a result of visiting Defendant’s Website, and from investigations

performed on their behalf, Plaintiffs found Defendant’s Website to be unusable due to various

barriers that deny them full and equal access to Defendant’s online store. For example:




                                               10
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page11
                                                                11ofof18
                                                                       18




               a.      The Website uses visual cues to

convey content and other information to sighted users.

Unfortunately, screen readers cannot interpret these cues and

communicate the information they represent to individuals

with visual disabilities. For example, shoppers who perceive

content visually will notice that the product available for

purchase on Defendant’s Website includes two prices. One

price—a higher price—appears in strikethrough font. The

other—a lower price—does not. These shoppers will likely

infer that the price appearing in strikethrough font is the “old”

or “original” price, while the price appearing in regular font

is the “new” or “sale” price. Unfortunately, Plaintiffs’ screen readers cannot identify the meanings

of these two fonts so that they can make an informed decision. Instead, Plaintiffs hear two prices,

and cannot determine what they signify, like different quantities, conditions, sizes, or in this case,

sales. This confusion prevents Plaintiffs from making informed purchasing decisions, and

increases the odds they will abandon the purchase process without making a selection at all.




                                                  11
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page12
                                                                12ofof18
                                                                       18




               b.      Links and buttons on the Websites

do not describe their purpose. As a result, blind users

cannot determine whether they want to follow a particular

link, making navigation an exercise of trial and error. For

example, visitors who perceive content visually will likely

recognize the Websites’ menu icon of three stacked lines,

and understand that by clicking it, Defendant direct them to

the Website’s menu. Unfortunately, this icon is not labeled

with any descriptive alternative text. As a result, when

Plaintiffs hover over it, the screen reader does not recognize

it as readable text or image. Because this is meaningless

without additional context, Plaintiffs are less likely to locate the Website’s menu as sighted users

would be.

       27.     These barriers, and others, deny Plaintiffs full and equal access to all the services

the Website offers, and now deter them from attempting to use the Website. Still, Plaintiffs would

like to, and intend to, attempt to access the Website in the future to research the products and

services the Website offers, or to test the Website for compliance with the ADA.

       28.     If the Website was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiffs could independently research and purchase Defendant’s products and

access its other online content and services.

       29.     Though Defendant may have centralized policies regarding the maintenance and

operation of its Website, Defendant has never had a plan or policy that is reasonably calculated to

make its Website fully accessible to, and independently usable by, individuals with vision related



                                                  12
            Case
            Case2:21-cv-00202-AJS
                 2:05-mc-02025 Document
                                  Document
                                        1831 Filed
                                              Filed02/11/21
                                                    02/11/21 Page
                                                              Page13
                                                                   13ofof18
                                                                          18




disabilities. As a result, the complained of access barriers are permanent in nature and likely to

persist.

           30.   The law requires that Defendant reasonably accommodate Plaintiffs’ disabilities by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

           31.   Plaintiffs have been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

   DEFENDANT’S KNOWLEDGE OF ONLINE ACCESSIBILITY REQUIREMENTS
           32.   Defendant has long known that screen reader technology is necessary for

individuals with visual disabilities to access its online content and services, and that it is legally

responsible for providing the same in a manner that is compatible with these auxiliary aids.

           33.   Indeed, the “Department [of Justice] first articulated its interpretation that the ADA

applies to public accommodations’ websites over 20 years ago.” As described above, on September

25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the ADA, nor the

Department’s enforcement of it, has changed this interpretation.

           34.   More recently, the United States Court of Appeals for the Ninth Circuit confirmed

the ADA applies to websites and mobile applications, equally. See Robles v. Domino's Pizza, LLC,

913 F.3d 898 (9th Cir. 2019).

           THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

           35.   There is no DOJ administrative proceeding that could provide Plaintiffs with Title

III injunctive relief.




                                                  13
          Case
          Case2:21-cv-00202-AJS
               2:05-mc-02025 Document
                                Document
                                      1831 Filed
                                            Filed02/11/21
                                                  02/11/21 Page
                                                            Page14
                                                                 14ofof18
                                                                        18




        36.     While DOJ has rulemaking authority and can bring enforcement actions in court,

Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiffs with relief.

        37.     Plaintiffs allege violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

        38.     Resolution of Plaintiffs’ claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on its Website, and (b) whether

Plaintiffs can access the content and services.

                                  SUBSTANTIVE VIOLATION

                           Title III of the ADA, 42 U.S.C. § 12181 et seq.

         39.    The assertions contained in the previous paragraphs are incorporated by reference.

         40.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). See Suchenko v. ECCO USA, Inc., 2018 WL 3933514,

*3 (W.D. Pa. Aug. 16, 2018) (“Simply put, Defendant in the instant case, like other corporate

defendants in Gniewkowski and Suchenko, purportedly owns, operates, and/or controls the

property upon which the alleged discrimination has taken place—i.e., its website. Therefore,

Plaintiff in this case has a nexus to the place of public accommodation and thus may claim the

protections of Title III.”).

         41.    In the broadest terms, the ADA prohibits discrimination on the basis of a disability

in the full and equal enjoyment of goods and services of any place of public accommodation. 42

U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiffs with full and equal

access to its Website, it has violated the ADA.
                                                  14
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page15
                                                                15ofof18
                                                                       18




        42.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.

        43.    Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service or fails to provide a like experience

to the disabled person.

        44.    Auxiliary aids and services include, but are not limited to, audio recordings, screen

reader software, magnification software, optical readers, secondary auditory programs, large print

materials, accessible electronic and information technology, other effective methods of making

visually delivered materials available to individuals who are blind or have low vision, and other

similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        45.    In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time:             as technology advances, [ ]

accommodations should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630

F.3d 1153, 1163 (9th Cir. 2011).

        46.    By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual, licensing,




                                                 15
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page16
                                                                16ofof18
                                                                       18




or other arrangements, in illegal disability discrimination, as defined by Title III, including without

limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;

                (b)     affording individuals with visual disabilities access to its Website that is not

equal to, or effective as, that afforded others;

                (c)     utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuate the discrimination of others who are subject to common

administrative control;

                (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

                (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

        47.     Defendant has violated Title III by, without limitation, failing to make its Website’s

services accessible by screen reader programs, thereby denying individuals with visual disabilities

the benefits of the Website, providing them with benefits that are not equal to those it provides

others, and denying them effective communication.

        48.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available without

consideration of consumers who can only access the company’s online goods, content, and services

with screen reader programs.




                                                   16
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page17
                                                                17ofof18
                                                                       18




        49.     Making its online goods, content, and services compatible with screen readers does

not change the content of Defendant’s Website nor result in making the Website different but

enables individuals with visual disabilities to access the Website Defendant already provides.

        50.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiffs and other individuals with visual disabilities.

        51.     Plaintiffs’ claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

        52.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiffs request relief as set forth below.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for:

        (A)     A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its Website is fully accessible to, and independently usable by, individuals

with visual disabilities;

        (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to, and independently usable by, blind individuals, and which further

directs that the Court shall retain jurisdiction for a period to be determined to ensure that Defendant

has adopted and is following an institutional policy that will in fact cause it to remain fully in




                                                  17
         Case
         Case2:21-cv-00202-AJS
              2:05-mc-02025 Document
                               Document
                                     1831 Filed
                                           Filed02/11/21
                                                 02/11/21 Page
                                                           Page18
                                                                18ofof18
                                                                       18




compliance with the law—the specific injunctive relief requested by Plaintiffs is described more

fully in paragraph 11 above.

       (C)     Payment of actual, statutory, and other damages, as the Court deems proper;

       (D)     Payment of costs of suit;

       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment. See People

Against Police Violence v. City of Pittsburgh, 520 F.3d 226, 235 (3d Cir. 2008) (“This Court, like

other Courts of Appeals, allows fees to be awarded for monitoring and enforcing Court orders and

judgments.”); see also Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-

01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); see also Access Now, Inc. v. Lax World, LLC,

No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11);

       (F)     Whatever other relief the Court deems just, equitable and appropriate; and

       (G)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: February 11, 2021              Respectfully Submitted,

                                             /s/ R. Bruce Carlson
                                             R. Bruce Carlson
                                             bcarlson@carlsonlynch.com
                                             CARLSON LYNCH, LLP
                                             1133 Penn Avenue, 5th Floor
                                             Pittsburgh, PA 15222
                                             Phone: (412) 322.9243

                                             Counsel for Plaintiffs




                                               18
